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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

AMERICAN INSURANCE ASSOCIATION                         )
and NATIONAL ASSOCIATION OF MUTUAL                     )
INSURANCE COMPANIES,                                   )
                                                       )
               Plaintiffs,                             )
                                                       )       No. 1:13-cv-00966 (RJL)
         v.                                            )
                                                       )
  UNITED STATES DEPARTMENT OF                          )
  HOUSING AND URBAN DEVELOPMENT                        )
  and BENJAMIN CARSON, in his official                 )
  capacity as Secretary of Housing and Urban           )
  Development,                                         )
                                                       )
               Defendants.                             )
                                                       )

              UNOPPOSED MOTION TO DISMISS WITHOUT PREJUDICE
               BY PLAINTIFF AMERICAN INSURANCE ASSOCIATION

       Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff American Insurance Associ-

ation (AIA) moves to dismiss its claims in this action without prejudice. Defendants Department

of Housing and Urban Development (HUD) and Secretary Benjamin Carson have indicated that

they do not take a position on the motion, and Plaintiff National Association of Mutual Insurance

Companies (NAMIC) indicates that it consents to the motion.

       AIA and NAMIC filed this suit in 2013 to challenge the Disparate Impact Rule promulgated

by HUD. Another property-casualty insurance company trade association (including homeowners

insurers) based in Chicago, the Property Casualty Insurers Association of America (PCI), filed an

action in the United States District Court for the Northern District of Illinois also challenging the

Disparate Impact Rule. See Property Casualty Insurers Ass’n of America v. Carson, No. 13-8564
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(N.D. Ill. Nov. 27, 2013). The two suits asserted different claims and have followed different paths

to date.

           In this case, AIA and NAMIC challenged the validity of disparate-impact claims generally

under the Fair Housing Act (FHA), and this Court granted summary judgment in their favor. Dkt.

46. HUD appealed, but before briefing began, the Supreme Court decided Texas Department of

Housing and Community Affairs v. Inclusive Communities Project, Inc., 135 S. Ct. 2507 (2015).

On remand from the District of Columbia Circuit, AIA and NAMIC amended their complaint to

add claims that HUD’s Disparate Impact Rule is inconsistent with limitations on disparate-impact

liability set out in Inclusive Communities. The case is currently stayed pending anticipated further

rulemaking by HUD.

           In the Northern District of Illinois case, PCI challenged the application of the Disparate

Impact Rule specifically to homeowners insurance on several grounds, including that application

of the Rule to homeowners insurance violates the McCarran-Ferguson Act, 15 U.S.C. §§ 1011-

1015, and that HUD’s explanation for applying the Rule to homeowners insurance was arbitrary

and capricious. The district court granted PCI’s motion for summary judgment in part and denied

it in part, concluding that HUD’s explanation for the Rule was deficient and remanding the Rule to

HUD for further explanation. See Property Casualty Insurers Ass’n of America v. Donovan, 66 F.

Supp. 3d 1018, 1046–54 (N.D. Ill. 2014). In 2016, HUD published a supplemental explanation for

its decision to apply the Rule to homeowners insurance. See 81 Fed. Reg. 69,012 (Oct. 5, 2016).

In 2017, PCI filed an amended complaint challenging the reasoning in HUD’s Supplemental Ex-

planation and asserting that HUD continued to apply the Rule to homeowners insurance in violation

of the limits imposed by the McCarran-Ferguson Act, Inclusive Communities, and the filed-rate

doctrine. The case is currently stayed pending anticipated further rulemaking by HUD.

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        On January 1, 2019, AIA merged into PCI, which subsequently changed its name to the

American Property Casualty Insurance Association (APCIA). APCIA intends to continue to pursue

the Disparate Impact Rule litigation in the Northern District of Illinois initiated by its predecessor

PCI, the sole plaintiff in that case. To avoid any potential concerns related to claim splitting and

res judicata, APCIA’s predecessor AIA seeks dismissal without prejudice of its claims in this liti-

gation. Granting that dismissal would allow this case to proceed with Plaintiff NAMIC alone with-

out potentially interfering with the litigation in the Northern District of Illinois.

        Federal Rule of Civil Procedure 41(a)(1)(A) permits voluntary dismissal without a court

order (i) on notice by the plaintiff before the opposing party has served an answer or filed a motion

for summary judgment, or (ii) on the stipulation of all parties. Unless the plaintiff has previously

dismissed an action based on the same claim, the dismissal is “without prejudice.” Fed. R. Civ. P.

41(a)(1)(B). Federal Rule of Civil Procedure 41(a)(2) permits voluntary dismissal by court order

on the request of the plaintiff on terms that the court considers proper. “Unless the order states

otherwise, a dismissal under . . . paragraph (2) is without prejudice.” Fed. R. Civ. P. 41(a)(2).

Because HUD has filed a motion for summary judgment in this case, dismissal by notice under Rule

41(a)(1)(A)(i) is unavailable. AIA thus seeks dismissal without prejudice by court order under Rule

41(a)(2).

        Granting dismissal without prejudice will ensure that the orderly withdrawal of AIA from

this action following its merger with PCI does not somehow prejudice the merged entity’s ability

to pursue its longstanding claims in the Northern District of Illinois action. HUD will not be prej-

udiced by such a dismissal, as it will leave HUD in the same position as before the AIA-PCI merger

with respect to the two ongoing suits. Indeed, as noted above, HUD does not oppose this motion.




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Plaintiff NAMIC likewise will not be prejudiced, as it may continue to pursue this action. NAMIC

also does not oppose this motion.

       Accordingly, AIA respectfully requests that this Court grant its unopposed motion to dis-

miss its claims in this action without prejudice.


Dated: March 15, 2019                               Respectfully submitted,


                                                    /s/ Kannon K. Shanmugam
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